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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NOTHERN DISTRICT OF GEORGIA
                            ROME DIVISION

EARL PARRIS, JR., Individually, and on )
Behalf of a Class of Persons Similarly )
Situated,                              )
                                       )
       Plaintiff,                      )
City of SUMMERVILLE, GEORGIA,          )
                                       )         CASE NO.: 4:21-CV-0040-TWT
Intervenor-Plaintiff                   )
v.                                     )

3M COMPANY, et al.,

      Defendants.

                  NOTICE OF APPREANCE OF COUNSEL


      Comes now Thomas C. Causby of Causby Firm LLC and makes this, his

notice of appearance as counsel of record for Earl Parris Jr., Individually and on

behalf of a class of Persons Similarly Situated and shows that Gary A. Davis and

Keith A. Johnston remain as counsel of record.

                                                           /s/ Thomas C. Causby
                                                               Thomas C. Causby
                                                    GA. STATE BAR NO. 968006
                                                    ATTORNEY FOR PLAINTIFF
                                                             101 E. Crawford St.
                                                                      Fifth Floor
                                                                    PO BOX 488
                                                          Dalton, Ga 30722-0488
                                                                  (706) 278-0525
                                                           tom@causbyfirm.com
       Case 4:21-cv-00040-TWT Document 327 Filed 02/01/23 Page 2 of 2




                          CERTIFICATION AS TO FONT

      Pursuant to N.D. Ga. Local Rule 7.1 D, I hereby certify that this document is
submitted in Times New Roman 14-point type as required by N.D. Ga. Local Rule
5.1(C).

                                                             /s/ Thomas C. Causby
                                                                 Thomas C. Causby
                                                      GA. STATE BAR NO. 968006


                            CERTIFICATE OF SERVICE
       This is to certify that I have this day served all counsel of record for the
foregoing matter with a copy of the forgoing NOTICE OF APPEARANCE and
with the Clerk of Court using the CM/ECF system that automatically sends email
notification of such filing to the attorneys of record who are registered participants
in the Court’s electronic notice and filing system and each of whom may access
said filing via the Court’s CM/ECF system.

      This 1st day of February 2023

                                                            /s/ Thomas C. Causby
                                                                Thomas C. Causby
                                                     GA. STATE BAR NO. 968006
